     Case 2:11-cv-00051-LMA-JCW Document 32 Filed 02/06/12 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


LEE BATES                                                                  CIVIL ACTION

VERSUS                                                                            NO. 11-51

TRANSUNION LLC, ET AL.                                                          SECTION I


                                           ORDER

      Considering the stipulation1 of dismissal with prejudice,

      IT IS ORDERED that all claims of plaintiff, Lee Bates, against defendant, Experian

Information Solutions, Inc., are DISMISSED WITH PREJUDICE.



      New Orleans, Louisiana, February 6, 2012.




                                                        LANCE M. AFRICK
                                                   UNITED STATES DISTRICT JUDGE




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       R. Doc. No. 30.
